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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA
                                     Miami Division

 MARTA REYES; LAWRENCE WOOD; et al.,
 on behalf of themselves                                CASE NO. 1:20-cv-21108-UU
 and all those similarly situated,                      HON. URSULA UNGARO

               Plaintiffs,                              CLASS ACTION

 v.

 PEOPLE’S REPUBLIC OF CHINA;
 COMMUNIST PARTY OF CHINA; et al.,

 Defendants.
 _____________________________________/

         STATUS REPORT PURSUANT TO COURT’S APRIL 23, 2020 ORDER

        Plaintiffs, by and through undersigned counsel, hereby provide the Court with a

 Status Report pursuant to the Court’s April 23, 2020 Order, which requires Plaintiffs to

 file a status report every fifteen days. [DE 10].

        Since the last status report of June 25, 2020, the service of process package has

 been sent via Federal Express to the official office in Beijing for receiving Hague

 Convention process. Although the package was tendered to Fedex two business days

 after our last status report, we were advised by our service vendor that the Beijing office

 has not been keeping regular hours due to the pandemic, and that delivery had to be

 coordinated to avoid the service package being lost or destroyed. A delivery window

 finally opened, and the package will be delivered on July 13, 2020.

        Plaintiffs next status report will be filed on July 27, 2020, as the 25th falls on a

 Saturday.

        Respectfully submitted this 10th day of July, 2020.
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                                 CERTIFICATE OF SERVICE

        I hereby certify that a true and correct copy of the foregoing has been filed this

 July 10, 2020, with the Court’s CM/ECF filing system, which shall cause an email notice

 to be sent to all parties of record in this matter.



                                      By: /s Matthew T. Moore
                                      Matthew T. Moore, Esq.
                                      Fla. Bar No. 70034
